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IN THE UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF ARKANSAS
CENTRAL DIVISION

NAKITA S. GIBBS, et al.

v. - No. 4:21-cv-1021-DPM

4:21-cv-1022-DPM
4:21-cv-1023-DPM
4:21-cv-1024-DPM
4:21-cv-1025-DPM
4:21-cv-1026-DPM
4:21-cv-1027-DPM
4:21-cv-1028-DPM
4:21-cv-1029-DPM
4:21-cv-1030-DPM
4:21-cv-1031-DPM
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4:21-cv-1041-DPM
4:21-cv-1042-DPM
4:21-cv-1043-DPM
4:21-cv-1044-DPM
4:21-cv-1045-DPM
4:21-cv-1046-DPM

PLAINTIFFS
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4:21-cv-1047-DPM
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4:21-cv-1060-DPM
4:21-cv-1061-DPM
4:21-cv-1062-DPM

GARY M. ARNOLD, et al. DEFENDANTS

ORDER
I recuse. I’m a defendant. My impartiality in this case could
therefore reasonably be questioned. 28 U.S.C. § 455(a). The Clerk must

reassign these cases at random by chip exchange.

So Ordered.

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D.P. Marshall Jr.
United States District Judge

 

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